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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


Melissa Thomas, on behalf of himself
individually and all others similarly
situated,                                Case No. 21-cv-02554 (PJS/HB)

                     Plaintiff,

v.

Pawn America Minnesota, LLC, Payday
America, Inc., and PAL Card Minnesota,
LLC,

                     Defendants.


Randell Huff, on behalf of herself
individually and all others similarly    Case No. 21-cv-02569 (PJS/HB)
situated,

                     Plaintiff,

v.

Pawn America Minnesota, LLC, Payday
America, Inc., and PAL Card Minnesota,
LLC,

                     Defendants.


Megan Murillo, on behalf of herself
individually and all others similarly    Case No. 21-cv-02574 (PJS/HB)
situated,

                     Plaintiff,

v.
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     Pawn America Minnesota, LLC, Payday
     America, Inc., and PAL Card Minnesota,
     LLC,

                           Defendants.


                             ORDER CONSOLIDATING ACTIONS

           This matter comes before the Court on Plaintiffs’ Unopposed Motion for

    Consolidation of Related Actions. The Court finds it appropriate to rule on this motion on

    the papers without a hearing.1 For good cause shown, the Court grants the motion as

    specifically set forth herein.

                                     CURRENTLY FILED CASES

           1.      The above captioned actions will be consolidated into one consolidated

    action. As the first filed action, Thomas v. Pawn America Minnesota, LLC, et al., No. 21-

    cv-02554, (D. Minn.) will be the Lead Case. The consolidated action shall bear the case

    caption: In re Pawn America Consumer Data Breach Litigation, Case No. 21-cv-02554

    (PJS/HB).

           2.      Every document filed in the consolidated action and in any separate action

    subsequently consolidated with this action shall be filed in the Lead Case. The Clerk of the

    Court is directed to add all Plaintiffs, Defendants, and their attorneys of record from the

    related actions to the Lead Case. Any lawyer who has been admitted pro hac vice in any

    of the actions need not seek pro hac vice admission in any other action. Any lawyer who

    has filed a notice of appearance in any of the actions need not file an appearance in any


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     The hearing on this motion scheduled for January 18, 2022, is therefore CANCELED.
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other action. It is incumbent upon each lawyer to ensure their appearance is listed in the

consolidated action for ECF purposes.

        3.      The Clerk of Court is directed to transfer all pending motions in the above-

captioned cases to the Lead Case.

        4.      The Clerk of Court is directed to docket a copy of this Order in case numbers

21-cv-2569 (PJS/HB) and 21-cv-2574 (PJS/HB).

        5.      The Clerk of Court is directed to administratively close case numbers 21-

cv-2569 (PJS/HB) and 21-cv-2574 (PJS/HB) and enter the following notation: “DO NOT

DOCKET. ALL DOCUMENTS SHOULD BE FILED IN 21-cv-2554 (PJS/HB).”

        6.      Plaintiffs shall file a consolidated amended complaint no later than January 7,

2022.

        7.      Absent agreement of the parties or further order of the Court to the contrary,

Defendants will not be required to answer or otherwise respond to the initial complaints in

these actions. The parties shall meet and confer and shall file a stipulation no later than

January 7, 2022, proposing a date for Defendants to answer or otherwise respond to the

consolidated amended complaint and further proposing a briefing schedule for any motions

to dismiss that may be filed in response to the consolidated amended complaint.

                        NEWLY FILED OR TRANSFERRED ACTIONS

        8.      This Order shall apply to all subsequently filed class actions alleging data

breach claims similar to those set forth in the above captioned consolidated actions and

brought on behalf of individuals who received a Notice of Data Breach letter from the

Defendants relating to the September 28, 2021 ransomware attack on Defendants’

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computer servers.

         9.      When an action that relates to the same subject matter and asserts

substantially similar claims as this consolidated action is hereafter filed in, removed to, or

transferred to this Court and assigned to the undersigned, it shall be consolidated as part of

In re Pawn America Consumer Data Breach Litigation.

         10.     Counsel must call to the attention of the Clerk the filing or transfer of any

case that might properly be consolidated with this action.

         11.     With respect to such newly filed or transferred actions, the Clerk of Court

shall:

               • docket a copy of this Order in the separate file for such action;

               • make an appropriate entry in the Lead Case docket that a new case has been

                 assigned; and

               • note on the docket that, upon entry of this Order, all papers shall be filed in

                 the Lead Case file and no further papers shall be filed in that individual case

                 docket.

         12.     All Plaintiffs in this consolidated action shall work together to coordinate

discovery, where appropriate and practicable, in a manner that reduces needless duplication

and inefficiency, keeping in mind the goal of Federal Rule of Civil Procedure 1 to promote

the just, speedy, and inexpensive resolution of this action.

IT IS SO ORDERED.

                                                            s/Hildy Bowbeer____________
Dated: December 7, 2021                                     HILDY BOWBEER
                                                            United States Magistrate Judge

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